      Case 1:99-cr-10371-DJC Document 666 Filed 05/24/12 Page 1 of 3



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                 )
UNITED STATES OF AMERICA         )
                                 )
V.                               )           Crim. No. 99-10371-RGS
                                 )
JAMES J. BULGER                  )
                                 )


                      DEFENDANT’S STATUS REPORT

     The defendant, James J. Bulger, submits this Status Report

in advance of the May 29 hearing before the Honorable Marianne

B. Bowler, M.J.

     In the time since the last Status Hearing, the defense has

continued reviewing the discovery. It is a painstaking process

given the size, complexity, issues involved, number of alleged

crimes, decades spanning the discovery, and all of the

individuals referenced within it (law enforcement, victims, co-

conspirators, witnesses, etc.). The review is made more

difficult by multiple copies of the same documents, and by the

fact that tens of thousands of documents are heavily redacted.

This arduous review has stunted the defense’s progress in

readying itself for a trial in November, a date that the defense

continues to maintain is untenable. Regardless, the defense will

continue to make its best efforts to be prepared for trial, and

will inform the Court when it believes the task is absolutely


                                     1
      Case 1:99-cr-10371-DJC Document 666 Filed 05/24/12 Page 2 of 3



impossible, a position which admittedly becomes clearer with

each passing day.

     On May 17, 2012, the government produced another batch of

discovery of several thousand pages, including approximately

1,700 pages of requested missing discovery and over one hundred

audio recordings. The defense will apply a higher level of

optical character recognition (OCR) to the discovery and return

it to the government, with the uniform Bates-numbering

previously ordered by the Court.

     There are several outstanding discovery requests to the

government. They include all trial and plea transcripts that the

government possesses in related cases that have not previously

been provided. The defense also is awaiting a response to the

request that the government produce the cassette tapes

digitally, noise-reduced and voice-enhanced, since a number of

them are of very poor quality. Finally, the defense has

requested a preliminary list of all evidence the government

intends to use as exhibits.

     Until the defense has accounted for and reviewed the entire

discovery produced, further discovery requests are difficult to

make. In addition, the defense is filing Defendant’s Motion To

Lift the Protective Order. One reason cited in the motion is the

impact that the Order has had on the preparation of substantive

motions. The defendant requests expeditious resolution of that

                                    2
       Case 1:99-cr-10371-DJC Document 666 Filed 05/24/12 Page 3 of 3



motion, and if it is allowed, the defendant expects to file the

first substantive motions in June, along with motions seeking

further discovery.

                                          JAMES J. BULGER
                                          By His Attorneys,

                                          CARNEY & BASSIL

                                          /s/   J. W. Carney, Jr.
                                          J. W. Carney, Jr.
                                          B.B.O. # 074760

                                          /s/   Henry B. Brennan
                                          Henry B. Brennan
                                          B.B.O. # 634036

                                          Carney & Bassil
                                          20 Park Plaza, Suite 1405
                                          Boston, MA 02116
                                          617-338-5566

Dated: May 24, 2012

                            Certificate of Service

      I hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those
indicated as non-registered participants on or before the above date.


                                          /s/   J. W. Carney, Jr.
                                          J. W. Carney, Jr.




                                      3
